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                                 UNITED STATES COURT OF APPEALS
                                     FOR THE FOURTH CIRCUIT
                                       OFFICE OF THE CLERK
                                       1100 East Main Street, Suite 501
                                       Richmond, Virginia 23219-3517
                                           www.ca4.uscourts.gov
            Patricia S. Connor                                                Telephone
                   Clerk                                                     804-916-2700


                                           March 20, 2013
                                    ___________________________

                                    NEW CJA COUNSEL NOTICE
                                    ___________________________


        No. 12-8052 (L), US v. Lavon Dobie
                         8:04-cr-00235-RWT-9
        TO: Mr. Jonathan Alan Gladstone
            113 Ridgely Avenue
            Annapolis, MD 21401-0000
            410-974-6903
            gladstonelaw@yahoo.com

         Thank you for accepting initial appointment on appeal in this case. This office
         will work with you in any way necessary in connection with the appointment.
         The court uses a shorter briefing schedule in criminal cases and gives criminal
         cases priority on the docket under FRAP 31(a)(2). Since it is unusual to be
         granted more than one extension of the briefing schedule, your attention to the
         prompt briefing of the case is appreciated. The case manager for this case is
         Cathy Poulsen, and the following information is provided for your use (click on
         an underlined document to access the document on the court's web site,
         www.ca4.uscourts.gov).

         Initial Forms: Following forms must be filed within 14 days.
             Appearance of Counsel
             Docketing Statement (if not yet filed)
             Transcript Order Form (order any necessary transcript)
             CJA-24 Transcript Application (if transcript is ordered)
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         Appointment and Case Information: Time and expense records must be
         maintained in accordance with the CJA Payment Memorandum and
         Worksheets to permit payment at the end of the case.

         Copies of any documents filed on appeal to date are accessible on the court's
         docket (if necessary, counsel may move to strike previously filed documents and
         file new documents on behalf of the defendant).

         Record: Counsel should register for and use a separate, fee exempt PACER
         account in CJA cases. Go to: http:\\www.pacer.gov to register. The district
         court’s PACER docket and electronic documents are accessible through a link to
         the district court docket from the appellate docket. The "Create Appendix" option
         enables counsel to combine multiple documents into one PDF record for printing
         or saving.

         Presentence Report, Statement of Reasons, Transcripts: Since the presentence
         report and statement of reasons are sealed documents and the transcript is
         restricted from public access during the redaction period, counsel may need to
         make special arrangements to obtain these documents. If not available from
         former counsel, the documents can be obtained from the district court. (See
         District Court Record Access for New Appellate Counsel). The Fourth
         Circuit's appointment deputy, Lisa McFarland, can also assist counsel in
         obtaining record items. .

        CONTACT INFORMATION:
        Former counsel: Ms. Mirriam Z Seddiq
                        Room 105A
                        3022 Javier Road
                        Fairfax, VA 22031
                        703-389-9830

        Defendant:           LAVON DOBIE - #38360-037
                             USP HAZELTON
                             U.S. PENITENTIARY
                             P.O. BOX 2000
                             BRUCETON MILLS, WV 26525

        Lisa McFarland, Deputy Clerk
        804-916-2744
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        cc:     Defendant
                Adam Kenneth Ake
                Felicia Cannon
                Mara Zusman Greenberg
                Deborah A. Johnston


                             Memorandum on Sealed and Confidential Materials

        Internet Availability of Docket & Documents: Fourth Circuit case dockets and documents are
        available on the Internet via the Judiciary's PACER system (Public Access to Court Electronic
        Records). The Fourth Circuit docket is available on the Internet even if the district court docket
        was sealed. If a party's name was sealed in the district court, it should be replaced by "Under
        Seal" or a pseudonym on appeal. Due to the electronic availability of court documents, the
        federal rules prohibit including certain personal data identifiers in court filings. In addition,
        parties should not include any data in their filings that they would not want on the Internet.
        Counsel should advise their clients on this subject so that an informed decision can be made.
        Responsibility rests with counsel and the parties, not with the clerk.

        Federal Rules of Procedure: The federal rules of procedure require filers to redact any of the
        following personal data identifiers (PDIs) if included in court filings: (1) social security and tax
        ID numbers must be limited to last four digits; (2) minor children must be identified by their
        initials only; (3) dates of birth must show the year only; (4) financial account numbers must be
        limited to the last four digits only; and (5) home addresses in criminal cases must be limited to
        city and state only. The federal rules establish limited exceptions to these redaction requirements.
        See Fed. R. Civ. P. 5.2; Fed. R. Crim. P. 49.1; Fed. R. Bankr. P. 9037.

        Judicial Conference Privacy Policy: In addition, the Privacy Policy for Electronic Case Files
        prohibits filers from including any of the following criminal documents in the public file: (1)
        unexecuted summonses or warrants; (2) bail or presentence reports; (3) statement of reasons in
        judgment of conviction; (4) juvenile records; (5) identifying information about jurors or potential
        jurors; (6) CJA financial affidavits; (7) ex parte requests to authorize CJA services and (8) any
        sealed documents, such as motions for downward departure for substantial assistance, plea
        agreements indicating cooperation, or victim statements.

        Local Rule 25(c): Local Rule 25(c) limits the sealing of documents by requiring that sealed
        record material be separated from unsealed material and placed in a sealed volume of the
        appendix and by requiring the filing of both sealed, highlighted versions and public, redacted
        versions of briefs and other documents. Since the ECF events for sealed filings make the
        documents accessible only to the court, counsel must serve sealed documents on the other parties
        in paper form.

        Sealed Volume of Appendix: If sealed record material needs to be included in the appendix, it
        must be placed in a separate, sealed volume of the appendix and filed with a certificate of
        confidentiality. In consolidated criminal cases in which presentence reports are being filed for
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        multiple defendants, each presentence report must be placed in a separate, sealed volume served
        only on Government counsel and counsel for the defendant who is the subject of the report.

              Use ECF event-SEALED APPENDIX to file sealed electronic appendix volume(s) and to
               indicate that four sealed paper volumes have been sent to the court. Cover of sealed appendix
               volume must be marked SEALED, and paper copies must be placed in envelopes marked
               SEALED. Sealed volume must be served on other parties in paper form.
              Use ECF event-Certificate of confidentiality to identify authority for treating material as
               sealed and to identify who may have access to sealed material. Four paper copies of certificate
               of confidentiality must accompany the four paper copies of the sealed appendix filed with the
               court..
              Use ECF event-APPENDIX to file public electronic appendix volumes(s) and to indicate that
               six public paper volumes have been sent to the court (five if counsel is court appointed). Paper
               copies of public volumes of appendix do not need to be served on other parties if they were
               served with full public appendix in electronic form.

        Sealed Version of Brief: If sealed material needs to be referenced in a brief, counsel must file
        both a sealed, highlighted version of the brief and a public, redacted version of the brief, as
        well as a certificate of confidentiality.

              Use ECF event-SEALED BRIEF to file sealed electronic version of brief in which sealed
               material has been highlighted and to indicate that four sealed paper copies have been sent to
               the court. Cover of sealed brief must be marked SEALED, and paper copies must be placed in
               envelopes marked SEALED. Sealed version must be served on other parties in paper form.
              Use ECF event-Certificate of confidentiality to identify authority for treating material as
               sealed and to identify who may have access to sealed material. Four paper copies of certificate
               of confidentiality must accompany the four paper copies of the sealed brief filed with the
               court.
              Use ECF event-BRIEF to file public electronic version of brief from which sealed material
               has been redacted and to indicate that eight paper copies have been sent to the court (six if
               counsel is court appointed). Paper copies of public brief do not need to be served on other
               parties.

        Sealed Version of Motions and Other Documents: If sealed material needs to be referenced in
        a motion or other document, counsel must file both a sealed, highlighted version and a public,
        redacted version, as well as a certificate of confidentiality.

              Use ECF event-SEALED DOCUMENT to file sealed electronic version of document in
               which sealed material has been highlighted. First page of document must be marked
               SEALED. No paper copies need be filed, but other parties must be served in paper form.
              Use ECF event-Certificate of confidentiality to identify authority for treating material as
               sealed and to identify who may have access to sealed material.
              Use the appropriate ECF event (e.g., MOTION or RESPONSE/ANSWER) to file public
               electronic version of document from which sealed material has been redacted. No paper
               copies of public document are needed for filing or service.

        Motions to Seal: If counsel believes it is necessary to seal the entire document and that it is not
        possible to create a public, redacted version of the document, counsel may file a motion to seal
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        the entire document. The motion to seal must appear on the public docket for five days;
        therefore, counsel must file both a sealed, highlighted version of the motion to seal (along with
        a certificate of confidentiality) and a public, redacted version of the motion to seal. The motion
        to seal must explain why it is necessary to seal the entire document and why a it is not possible to
        prepare a public, redacted version of the document.
